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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 STATE FARM MUTUAL
 AUTOMOBILE INSURANCE
 COMPANY,                                        Case No. 2:16-cv-13040
                                                 District Judge Linda V. Parker
             Plaintiff,                          Magistrate Judge Anthony P. Patti

 v.

 ELITE HEALTH CENTERS, INC.,
 ELITE CHIROPRACTIC, P.C.,
 ELITE REHABILITATION, INC.,
 MIDWEST MEDICAL
 ASSOCIATES, INC., PURE
 REHABILITATION, INC., DEREK
 L. BITTNER, D.C., P.C., MARK A.
 RADOM, DEREK LAWRENCE
 BITTNER, D.C., RYAN MATTHEW
 LUKOWSKI, D.C., MICHAEL P.
 DRAPLIN, D.C., NOEL H. UPFALL,
 D.O., MARK J. JUSKA, M.D.,
 SUPERIOR DIAGNOSTICS, INC.,
 CHINTAN DESAI, M.D., MICHAEL
 J. PALEY, M.D., DEARBORN
 CENTER FOR PHYSICAL
 THERAPY, L.L.C., MICHIGAN
 CENTER FOR PHYSICAL
 THERAPY, INC., and JAYSON
 ROSETT

           Defendants.
 _________________________/

   ORDER DENYING AS MOOT STATE FARM MUTUAL’S MOTION
 FOR PROTECTIVE ORDER WITH RESPECT TO ELITE DEFENDANTS’
       RULE 30(b)(6) NOTICE OF DEPOSITION (DE 275) AND



  
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     STATE FARM MUTUAL’S MOTION FOR PROTECTIVE ORDER WITH
       RESPECT TO PALEY’S AND DESAI’S RULE 30(b)(6) NOTICES OF
                       DEPOSITION (DE 283)

         This matter is before the Court for consideration of Plaintiff State Farm

 Mutual Automobile Insurance Company’s (“State Farm Mutual”) motion for

 protective order with respect to Elite Defendants’ Rule 30(b)(6) notice of

 deposition (DE 275) and State Farm Mutual’s motion for protective order with

 respect to Paley’s and Desai’s Rule 30(b)(6) notices of deposition (DE 283). The

 motions have been fully briefed, and a hearing was noticed for September 13,

 2018.

         About an hour into the hearing (at which counsel for the parties and movants

 appeared), and following a brief recess during which the parties were invited to

 engage in a meet and confer conference, they informed the Court that they had

 fully resolved the matters that had been the subject of Plaintiff’s motions. Counsel

 for the parties placed a stipulation as to these resolved matters on the record, which

 the Court intends to enforce. Accordingly, Plaintiff’s motions (DEs 275, 283) are

 DENIED as moot.

         IT IS SO ORDERED.

 Dated: September 13, 2018               s/Anthony P. Patti
                                         Anthony P. Patti
                                         UNITED STATES MAGISTRATE JUDGE



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                               Certificate of Service

 I hereby certify that a copy of the foregoing document was sent to parties of record
 on September 13, 2018, electronically and/or by U.S. Mail.

                                        s/Michael Williams
                                        Case Manager for the
                                        Honorable Anthony P. Patti




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